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   9                            UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
  10                                 WESTERN DIVISION
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  12   Edwardo Munoz, individually and on
       behalf of all others similarly situated,               Case No. 2:18-cv-03893-RGK-AGR
  13
                                        Plaintiff,               [PROPOSED] ORDER
  14                                                             GRANTING PLAINTIFF’S
              v.
  15                                                             MOTION FOR AWARD OF
       7-Eleven, Inc., a Texas corporation,                      REASONABLE ATTORNEYS’
  16                                                             FEES, EXPENSES, AND
                                          Defendant.
  17                                                             INCENTIVE AWARD
  18                                                             Date: November 4, 2019
  19                                                             Time: 9:00 a.m.
                                                                 Judge: Hon. R. Gary Klausner
  20                                                             Courtroom: 850
  21                                                             Complaint Filed: May 9, 2018
  22
  23          Having considered the moving papers and all other matters presented to the
  24   Court, the Court finds that Plaintiff’s Motion for Award of Reasonable Attorneys’
  25   Fees, Expenses, and Incentive Award should be granted, and hereby orders as
  26   follows:
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  28
         [Proposed] Order Granting Plaintiff’s Motion for Reasonable Attorneys’ Fees, Expenses, and Incentive Award
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   1     1.       The Court finds the requested fee award of 25% of the Settlement Fund
   2              to be reasonable. The Court awards Class Counsel $493,125 as
   3              reasonable attorneys’ fees.
   4     2.       The Court also finds the costs and expenses to be reasonable and awards
   5              Class Counsel $20,961.15 in costs and expenses.
   6     3.       Finally, the Court awards Plaintiff Munoz an incentive award in the sum
   7              of $5,000 for his efforts in the litigation.
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   9   IT IS HEREBY ORDERED that Plaintiff’s Motion is GRANTED.
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       Dated:
                                                         Hon. R. Gary Klausner
  12                                                     United States District Judge
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         [Proposed] Order Granting Plaintiff’s Motion for Reasonable Attorneys’ Fees, Expenses, and Incentive Award
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